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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 85-4544-DMG (AGRx)                                    Date     July 3, 2018

   Title Jenny L. Flores, et al. v. Jefferson B. Sessions, III, et al.                  Page     1 of 1

   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                NOT REPORTED
                Deputy Clerk                                              Court Reporter

      Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
               None Present                                                None Present

   Proceedings: IN CHAMBERS - ORDER GRANTING EX PARTE APPLICATION TO
                FILE AN AMICUS BRIEF [449]

             On June 29, 2018, the City of Los Angeles, the City of Chicago, the City of New York,
   and the City & County of San Francisco (“the Cities”) filed an Ex Parte Application seeking
   leave to file a brief as amicus curiae. [Doc. # 449.] Pursuant to this Court’s Initial Standing
   Order, any party intending to oppose the Ex Parte Application was required to file an opposition
   by July 2, 2018. See Initial Standing Order at 9 [Doc. # 107]. No such opposition has been filed.
   Accordingly, the Court GRANTS the Cities’ Ex Parte Application, and ORDERS the Cities to
   file the proposed amicus brief found in Docket Entry No. 451-1 within three (3) days of the date
   of this Order. See C.D. Cal. L.R. 7-12 (“The failure to file any required document, or the failure
   to file it within the deadline, may be deemed consent to the granting or denial of [a]
   motion . . . .”).

   IT IS SO ORDERED.




   CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
